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v. , )
) 21 u.s.c. § 846
FELlclANNA T. BRowN, ) 21 u.s.c. § a41(a)(1)
, ORl Gll\lAl_
Defendant. )
)
lN DlCTNlENT
THE cRAND JuRY cHARGEs:
couNT1

Beginning at a time unknown to the grand jury, but through at least on or about
March 4, 2004, in the Western District of Tennessee, the defendant,

FELlClANNA T. BROWN

 

 

did unlawfully, knowingly and intentionally conspire, combine, confederate and agree
with other persons both known and unknown to the grand jury, to possess with the
intent to distribute over 50 grams of cocaine base (crack cocaine), a controlled
substance as classified by Tit|e 21, United States Code, Section 812 as a Schedule ll

controlled substance, in violation of 21 U.S.C. § 841(a)(1).

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FORM AND SUBSTANCE OF THE CONSP|RACY
The object and purpose of this conspiracy was for FEL|C|ANNA T. BROWN
and other persons to obtain cocaine and then to mix with other products to
manufacture cocaine base (crack cocaine) for the purpose of distributing in the

Madison County, Jackson, Tennessee vicinity. All in violation of 21 U.S.C. § 846.

COUNT 2
On or about March 4, 2004, in the Western District of Tennessee, the
defendant,

FEL|C|ANNA T. BROWN

 

 

did unlawfully, knowingly and intentionally possess with the intent to distribute over 50
grams of cocaine base (crack cocaine), classified by Title 21, United States Code,
Section 812 as a Schedu|e l| controlled substance, in violation of 21 U.S.C. §

841(3)(1) and 18 U.S.C. § 2.

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This notice confirms a copy of the document docketed as number l in
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Honorable S. Anderson
US DISTRICT COURT

